Case 5:11-cv-01846-LHK Document 2068-4 Filed 10/20/12 Page 1 of 4

EXHIBIT 135
Samsung Mesmerize Galaxy S Android Smartphone

Case 5:11-cv-01846-LHK Document 2068-4 Filed 10/20/12 Page 2 of 4

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Samsung Mesmerize™ i500 (U.S. Cellular) Android wrest “a & “

Smartphone

SCH-I500 432 REVIEWS

OVERVIEW | FEATURES | SPECS | GALLERY | REVIEWS | ACCESSORIES | SUPPORT

Galaxy S with Android™ 2.1 OS

Ae besa |

Ultra-slim Design
4.0” Super AMOLED Touch Screen Display

Loaded with Multimedia and Entertainment
Features

Please check with an authorized Samsung retailer for price information

if ‘a a ; |

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Product Features | see ait reatures Specifications
Galaxy $ with Android™ 2.1 OS Ultra-slim Design Carrier
Do you want the whole world in your hands? How It's amazing how much technical wizardry fits into U.S. Cellular
about the whole universe? Tens of thousands of apps such a sleek package, less than half an inch thick.
|

populate Google Play™-- everything from popular Seler

. . Mirror Black
games to productivity tools to constellation maps. 4.0” Super AMOLED Touch Screen
Powered by the latest Android platform(and Display Platform
upgradeable to 2.2), this phone fully integrates with Android 2.1

Google Mobile Services. You're now at one with your This brilliant screen gives you sharp, cinema

Gmail account, Google Maps, YouTube videos and quality images, even in bright sunlight. It eliminates Camera
more the need to find a dark place to read your screen. 5.0 Megapixel
, And it's super sensitive to the slightest touch of
your finger.

Owner Reviews see Ai

http://www.samsung.com/us/mobile/cell-phones/SCH-IS00RKAUSC[10/15/2012 2:10:15 PM]
Samsung Mesmerize Galaxy S Android Smartphone

Case 5:11-cv-01846-LHK

Document 2068-4 Filed 10/20/12 Page 3 of 4

Value:

A little? Tell

Overall: Features: Performance: Design:
“The Best “Samsung “Great phone, easy Like it? A lot?
Smartphone for Mesmerize” to use”

the beginner”

This phone is great for the person
just getting started in the
Smartphone game | found it easy to
use but with enough stuff for the

intermediate user... Read lviore »

Mavrick40 on September 12, 2012

Accessories see ai

Galaxy S$ i500 Desktop
Dock & Wall Charger

| like the large and bright display,
the virtual keyboard, the slim
design, the large keys on the
keypad, the clear sound, the
Android apps, the sync features,
and the camera. It has fast
performance, is user friendly, and is

easy to customize....Read Nore »

CityGirl on May 04, 2012

Galaxy S i500 Spare
Battery and Charging

us.

this is my second android phone If you own one of these we'd

and ij am loving them. i use it all the like to hear what you think of it.

time at work and home. my phone
tends to be faster to look things up Teeeenintt
on line than my work computers! it

does freeze sometimes and

everyone once in a while the touch

screen wont respond right a way

but i still like itover my old ...Read

More »

dunwildranch on February 12, 20712

Galaxy S$ i500 Standard
Battery (1500mAh)

In-Car Power Charger
(Micro USB)

ECR-D985BEGSTA system EB575152YZBSTD CAD300UBEB/STD
ET-CHGPKVOGSTA
(10) (2) (0) (5)
$14.99 $49.99 $39.99
ay eee

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Case 5:11-cv-01846-LHK Document 2068-4 Filed 10/20/12 Page 4 of 4

Features and specifications are subject to change without prior notification

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